                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

RICHARD COX                                    :    NO.: 3:22-cv-01209 (JBA)
                                               :
v.                                             :
                                               :
CITY OF NEW HAVEN, ET AL                       :    NOVEMBER 21, 2022


ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANT, CITY OF NEW HAVEN


       1.     The Defendant, City of New Haven, does not answer the FIRST,

SECOND, THIRD, SEVENTH, EIGHTH, NINTH, ELEVENTH, TWELFTH,

THIRTEENTH, FOURTEENTH, FIFTEENTH, SIXTEENTH and SEVENTEENTH

COUNTS, as they are not directed to the Defendant City of New Haven.

FOURTH COUNT

       1-15. As to paragraphs 1-15, the Defendant lacks knowledge or information

sufficient to base a belief about the truth of the matters contained therein and therefore

leaves the Plaintiff to his burden of proof.

       16.    The Defendant denies paragraph 16.

FIFTH COUNT

       1-14. As to paragraphs 1-14, the Defendant lacks knowledge or information

sufficient to base a belief about the truth of the matters contained therein and therefore

leaves the Plaintiff to his burden of proof.

       15.    The Defendant denies paragraph 15.
SIXTH COUNT

       1-8.   As to paragraphs 1-8, the Defendant lacks knowledge or information

sufficient to base a belief about the truth of the matters contained therein and therefore

leaves the Plaintiff to his burden of proof.

       9-14 The Defendant denies paragraphs 9-14.

TENTH COUNT

       1-15. As to paragraphs 1-15, the Defendant lacks knowledge or information

sufficient to base a belief about the truth of the matters contained therein and therefore

leaves the Plaintiff to his burden of proof.

       16.    The Defendant denies paragraph 16.

EIGHTEENTH COUNT

       1-17. As to paragraphs 1-17, the Defendant lacks knowledge or information

sufficient to base a belief about the truth of the matters contained therein and therefore

leaves the Plaintiff to his burden of proof.

       18.    The Defendant denies paragraph 18.



                         BY WAY OF AFFIRMATIVE DEFENSES

First Affirmative Defense

       The Complaint fails to state a claim upon which relief may be granted.

Second Affirmative Defense

       The claims against the Defendant are barred by governmental immunity.

Third Affirmative Defense

       The claims against the Defendant are barred by contributory negligence.




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                            JURY DEMAND

The Defendant demands a trial by jury.

                                    DEFENDANT,
                                    CITY OF NEW HAVEN



                                    By        /s/ Thomas R. Gerarde
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                                     CERTIFICATION

        This is to certify that on November 21, 2022, a copy of the foregoing Answer and
Affirmative Defenses on behalf of the City of New Haven was filed electronically and
served by mail on anyone unable to accept electronic filing. Notice of this filing will be
sent by e-mail to all parties by operation of the Court’s electronic filing system or by mail
to anyone unable to accept electronic filing as indicated on the Notice of Electronic
Filing. Parties may access this filing through the Court’s CM/ECF System.



                                                      /s/ Thomas R. Gerarde
                                              Thomas R. Gerarde




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